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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF ALABAMA
                             NORTHERN DIVISION

DIANA REESE                                        )
                                                   )
       Plaintiff,                                  )
                                                   )    CIVIL ACTION NO.
                                                   )    2:17-cv-00870-SRW
                                                   )
CBE, INC. d/b/a CAPITAL BUSINESS                   )
EQUIPMENT, INC.,                                   )
                                                   )
       Defendant.                                  )

                                         ORDER

       Upon consideration of the parties’ joint stipulation of dismissal with prejudice (Doc.

24), which comports with Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, the

court finds that this action has been dismissed with prejudice by operation of Rule 41 on

the terms agreed to and set out by the parties. The Clerk of the Court is DIRECTED to

close this case.

       Done, on this the 19th day of June, 2019.

                                                         /s/ Susan Russ Walker
                                                         Susan Russ Walker
                                                         United States Magistrate Judge
